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15
                                  UNITED STATES DISTRICT COURT
16
                                 NORTHERN DISTRICT OF CALIFORNIA
17
                                      SAN FRANCISCO DIVISION
18
     FEDERAL TRADE COMMISSION,                   )   CASE NO: 5:18-CV-02454-JSC
19                                               )
                    Plaintiff,                   )   DEFENDANT’S NOTICE OF
20                                               )   MOTION AND MOTION FOR
             v.                                  )   PARTIAL SUMMARY JUDGMENT
21                                               )   AND MEMORANDUM OF POINTS
     LENDINGCLUB CORPORATION, d/b/a              )   AND AUTHORITIES IN SUPPORT
22   Lending Club,                               )   THEREOF
                                                 )
23                  Defendant.                   )   Judge:   Hon. Jacqueline Scott Corley
                                                 )   Dept.:   San Francisco Courthouse, Ctrm. E
24                                               )   Date:    April 27, 2020
                                                 )   Time:    9:00 a.m.
25

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     DEF.’S MOTION FOR PARTIAL SUMMARY                                 CASE NO: 5:18-CV-02454-JSC
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 1
                                   NOTICE OF MOTION AND MOTION
 2
     TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
 3
            PLEASE TAKE NOTICE that at 9:00 a.m. on April 27, 2020, or as soon thereafter as the
 4
     matter may be heard before the Honorable Jacqueline Scott Corley, United States Magistrate Judge
 5
     for the Northern District of California, Defendant LendingClub Corporation (“Defendant”) will and
 6
     hereby does move for summary judgment pursuant to Federal Rule of Civil Procedure 56(a) on Counts
 7
     III and IV of Plaintiff Federal Trade Commission’s First Amended Complaint. Summary judgment
 8
     on these counts is warranted because there is no genuine dispute as to any material fact and Defendant
 9
     is entitled to judgment as a matter of law.
10
            This Motion is based on this Notice of Motion and Motion, the descriptions of the undisputed
11
     facts and legal points and authorities below, the attached Declaration of Richard H. Cunningham in
12
     Support of Defendant’s Motion for Partial Summary Judgment (the “Cunningham Decl.”), the papers
13
     on file in this matter, the arguments of counsel, and any other matters the Court wishes to consider.
14

15   Dated February 27, 2020                       Respectfully submitted,

16                                                 /s/ M. Sean Royal
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 1                             STATEMENT OF ISSUES TO BE DECIDED
 2          1.      Whether LendingClub is entitled to summary judgment on Count III of the First

 3   Amended Complaint considering that federal law requires the FTC to satisfy each of three statutory

 4   elements to establish that a practice is “unfair”—i.e., substantial injury to consumers, not reasonably

 5   avoidable by consumers, that is not outweighed by countervailing benefits—and yet the undisputed

 6   evidence shows that in percentage terms very few borrowers who obtained loans through

 7   LendingClub were affected by erroneous unauthorized ACH withdrawals; those that were affected

 8   suffered little or no net harm; LendingClub’s rate of unauthorized withdrawals was far below the

 9   relevant industry benchmarks; and LendingClub’s ACH withdrawal services provided significant

10   benefits to consumers.

11          2.      Whether LendingClub is entitled to summary judgment on Count IV of the First

12   Amended Complaint where the only relief the agency seeks is an injunction, and yet it is undisputed

13   that the practices sought to be enjoined were voluntarily discontinued well over three years ago, in

14   December 2016, and there is no evidence suggesting a reasonable likelihood of recurrence.

15                                            INTRODUCTION
16          The FTC’s First Amended Complaint (“FAC”) asserts four claims. Although LendingClub

17   strongly believes that Counts I and II lack merit and should be resolved in its favor, the company is

18   not moving for judgment on either claim at this time and believes both claims should be resolved by

19   the Court at trial. As for Counts III and IV, however, LendingClub submits that with respect to these

20   claims there are no genuine factual disputes and the company is entitled to judgment as a matter of

21   law. It therefore moves for summary judgment on Counts III and IV.

22          Count III relates to LendingClub’s practice of permitting borrowers to make loan payments

23   directly from their bank accounts using Automated Clearing House (“ACH”) withdrawals, a

24   convenience LendingClub has provided to borrowers since before 2013, and one that reduces costs

25   both for borrowers (who avoid the expense of obtaining, writing, and mailing checks) and for

26   LendingClub (which avoids the cost of processing paper checks).               Count III asserts that

27   LendingClub’s policies and practices relating to ACH withdrawals are “unfair” under Section 5(a) of

28   the FTC Act, 15 U.S.C. § 45(a), because “[i]n numerous instances, Defendant has withdrawn money

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 1   from borrowers’ bank accounts without borrowers’ authorization, or in amounts in excess of

 2   borrowers’ authorization.” FAC ¶ 62. However, the undisputed facts show that LendingClub

 3   maintains robust processes to avoid ACH withdrawal errors, its processes comport with all applicable

 4   industry and regulatory standards, and LendingClub’s error rate is far beneath the thresholds used by

 5   the standards-setting authority in the industry to identify potentially inadequate practices. In the latter

 6   regard, data obtained by the FTC from the National Automated Clearing House Association

     (“NACHA”), which regulates and administers the standards governing ACH withdrawals, show that


                                                                                                      -
 7
     LendingClub’s monthly NACHA unauthorized return rate for ACH withdrawals averaged


                     - -
 8

 9   approximately            of the 0.50% threshold that NACHA currently uses to spot potentially

10   inadequate ACH practices and                    the overall average error rate for NACHA members.

11   These figures refute the FTC’s allegation that LendingClub’s processes and procedures for automated

12   ACH withdrawals are inadequate, let alone “unfair” in violation of the FTC Act. The undisputed

13   facts also show that when LendingClub learns that it made a mistake resulting in an erroneous ACH

14   withdrawal, the company offers the borrower a prompt refund of the full amount of the erroneous

15   withdrawal, plus any associated overdraft fees. These and other undisputed facts discussed below

16   show that the company’s ACH withdrawal practices are not, as a matter of law, “unfair.”

17          Count IV relates to LendingClub’s past practices with respect to delivering consumer privacy

18   notices and asserts that, prior to the “end of 2016,” LendingClub violated the Gramm-Leach-Bliley

19   Act (“GLBA”) Privacy Rule and Regulation P by failing to “require customers to acknowledge

20   receipt of the [company’s privacy] notice as a necessary step to obtaining” a loan through the

21   platform. FAC ¶ 51. LendingClub is entitled to summary judgment on this claim because there is no

22   likelihood of this conduct recurring, making an injunction (the only relief the FTC seeks)

23   inappropriate. As the FAC makes clear, the FTC does not challenge LendingClub’s privacy practices

24   as of or after the “end of 2016.” Id. It is undisputed that by that time—specifically, December 2016—

25   LendingClub implemented a recommendation from its internal compliance department by voluntarily

26   changing its privacy notice disclosure practices to its current approach, which the FTC accepts as

27   compliant. It is also undisputed that this change was recommended before the FTC opened its pre-

28   complaint investigation in this matter and was completed nearly a year before the FTC first signaled

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 1   any concerns about this issue, and roughly a year and a half before the FTC filed its complaint in this

 2   case. Given these undisputed facts, LendingClub submits that it is entitled to summary judgment,

 3   because the FTC cannot show “a likelihood of recurrence” and therefore cannot prevail on this claim

 4   as a matter of law. FTC v. Evans Prods. Co., 775 F.2d 1084, 1087 (9th Cir. 1985).

 5                               STATEMENT OF UNDISPUTED FACTS

 6          A.      LendingClub’s Business

 7          LendingClub is a Delaware corporation headquartered in San Francisco, California. LC 10-

 8   K, at i (2017). Since 2007, it has operated an award-winning online peer-to-peer lending platform

 9   that connects borrowers and investors. See Cunningham Decl. ¶¶ 3-4. Through LendingClub’s

10   platform, consumers can apply for and obtain personal loans underwritten and issued by a third-party

11   bank, WebBank. See id. at ¶ 5. LendingClub then facilitates the purchase of interests in the loans by

12   retail and institutional investors, creating a two-sided platform. See, e.g., LendingClub 2017 Form

13   10-K, p. 4. Although not itself a lender, LendingClub services the loans, manages customer service,

14   and acts as an intermediary between borrowers and investors. See id. To date, over three million

15   individuals have used LendingClub’s platform to obtain loans worth, in aggregate, more than $43

16   billion. See Cunningham Decl. ¶ 6.

17          LendingClub’s business model is to provide borrowers with convenient access to loans at

18   costs lower than are often available through traditional lenders or other lending platforms. See, e.g.,

19   LendingClub 2017 Form 10-K, pp. 4-5. The unsecured personal loans facilitated by LendingClub’s

20   online platform help address the needs of consumers seeking to make major purchases or refinance

21   debt, often high-cost, revolving credit card debt. See Cunningham Decl. ¶¶ 7-9. For such consumers,

22   LendingClub-facilitated loans provide lower cost, closed-end (three- or five-year term) credit they

23   can more easily repay, eliminating the burden of long-term, revolving, high-interest debt. See id. In

24   2017, the Federal Reserve Bank of Philadelphia reported that “LendingClub’s consumer lending

25   activities have penetrated into areas that could benefit from additional credit supply … [and have]

26   provided credit access to consumers at a lower cost.” Id. at ¶ 10 (identifying article). By creating an

27   innovative online platform connecting borrowers and investors, LendingClub has expanded the

28   unsecured credit options available to consumers nationwide.

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 1             B.      LendingClub’s Automatic Payment Option

 2             As the servicer for personal loans facilitated through its platform, LendingClub offers

 3   borrowers the option to make loan payments by check or by automated ACH withdrawal directly

 4   from their bank accounts. Most borrowers—more than 95%—prefer the convenience and lower cost

 5   of automated withdrawals. See Cunningham Decl. ¶ 11. The application flow on LendingClub’s

 6   platform requires borrowers to select their initial payment method, and LendingClub maintains

 7   records of each borrower’s consent for automated withdrawals. See id. at ¶¶ 12-13. LendingClub’s

 8   policy does not permit the initiation of automated withdrawals absent that consent. See id. at ¶ 13.

 9   The terms applicable to loans available through LendingClub allow borrowers to switch payment

10   methods at any time and provides borrowers with significant flexibility to manage the timing and

11   amount of their loan payments to fit their preferences. See id. at ¶¶ 14-16. Among other things,

12   borrowers can:

13             •    make extra payments whenever they please to reduce the outstanding principal on
                    their loan;
14
               •    change the date on which their monthly payment is due; and
15
               •    delay their monthly payment by up to 15 days beyond its due date, without penalty,
16                  in the form of a “grace delay.”

17   See id. LendingClub permits borrowers to access these options through multiple customer service

18   access points, including by email, letter, phone, and an online self-service portal. See id. at ¶¶ 17-18.

19             Unsurprisingly, providing customers the flexibility to change payment methods, due dates,

20   and even delay payments without incurring a penalty adds complexity when it comes to managing

21   payments through LendingClub’s platform and, as is the case with virtually every organization that

22   processes payments, there is always some possibility of inadvertent errors, many of them caused by

23   actions the borrower took. See Cunningham Decl. ¶¶ 19-21. For instance, when a borrower calls to

24   push back an automated withdrawal by a few days, on rare occasions a customer service

25   representative may mistakenly schedule a withdrawal for the new date without canceling the

26   previously scheduled withdrawal, resulting in a duplicate payment the borrower does not intend or

27   expect.

28

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 1          Duplicate payments can also result from bon ower enors.1 For example, if a bonower initiates

 2   a payment using LendingClub 's self-service po1tal while another payment is ah-eady in process in the

 3   ACH system, a duplicate payment can occur. See Cunningham Deel.        ~ 25.   Likewise, if a bonower

 4   mails a check to make a payment when a previously scheduled automated withdrawal is about to

 5   occur, LendingClub's receipt of the check and initiation of the automated withdrawal may occur

 6   almost simultaneously, resulting in duplicate payments. See id. 2 Of course, these types of issues

 7   could be avoided if bonowers were not pen nitted to make additional payments or change the date or

 8   method of their payments, but this would deprive bonowers of the valued flexibility these options

 9   provide.

1O          Recognizing the potential for human en ors, LendingClub has established and maintained a

11   range of practices an d procedures throughout the relevant time period to 1nini1nize their occmTence:

12          •

13

14

15          •
16

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19
        Payment issues also sometimes arise as a consequence of the payment practices of third patties.
20      For example, JP Morgan Chase for some period of time maintained a practice of "pre-debiting"
        automated withdrawals, in effect treating the withdrawal as occmTing the day before it was
21      scheduled to take place. See Cunningham Deel. ~~ 22-23. This practice caused some overdrafts
        by bon owers on LendingClub's platfo1m, who, believing Chase would debit the account on the
22      payment due date, drew on their accounts the day before payment, resultin in overdrafts. See id.
        Althou h it has no control over Chase 's re-debiting practice,
23                                                        . See Cunningham ec .
                                                     testimony relating to Count III described situations
24                                                         scheduled a payment on May 13, an d later
                                 en on ay      w1 ou canceling the May 13 payment. See Cunningham
25                                 forgot about the May 13 payment an d intended to pay only once, but
        nothing ind1ca e o en ingClub that he did not intend to make both payments, given that he
26      was late on his bills and most customers who mak e multiple payments intend to do so. See id.
        FTC Declar a n t - intended to pay off her loan early by writing and mailing
27      in a check, but ~ l ub, so LendingClub received the payoff on the same day
        that her monthly payment was scheduled, resulting in the duplicate payment. See Cunningham
28      Deel. ~ 27.

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10            LendingClub retained Charles Grice, a consultant with more than thi1iy years of experience

11   advising financial institutions, including retail banks, investment banks, an d mortgage companies, on

12   regulato1y an d risk man agement matters. See Cunningham Deel.         ,r 38.   Mr. Grice examined the

13   company's practices relating to ACH withdrawals and submitted an expert repo1i in this case

14   explaining his analyses an d conclusions in detail. Based on his experience "consulting with finan cial

15   institutions on electronic payment systems," "review of the LendingClub ACH transaction data and

16   practices addressed in the FTC 's First Amended Complaint," and "review of the case record," Mr.

17   Grice concluded that "LendingClub's ACH unauthorized returns and practices accord with industiy

18   standards and regulato1y compliance benchmarks from 2013 to th e present." Id. at ,r 39. Mr. Grice

19   fmth er concluded that "LendingClub has pmdently man aged and monitored its use of the ACH

20   Network." Id. These conclusions are unrebutted and not in dispute. 3

21            In light of LendingClub 's use of practices that compo1i with industiy and regulato1y standards,

22   it is unsurprising that the company's rate of unauthorized withdrawals is exti·emely low relative to

23   relevant industiy benchmarks. The National Automated Clearing House Association ("NACHA"),

24   th e organization th at sets stan dards for the ACH Network an d regulates automated withdrawals made

25   using the Network, maintains data on unauthorized return rates and using such data sets thresholds to

26   identify potentially problematic practices by members of the ACH Network. See Cunningham

27
     3
           Mr. Grice submitted his repo1i on November 15, the date on which affmnative expe1is were due
28         pursuant to the Comi's scheduling order, an d the FTC elected not to submit a rebuttal repo1i .

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 1   Deel.~ 40. Cunently, NACHA uses an unauthorized return rate of 0.50% as the threshold for

 2   evaluating ACH Network paiticipants (until September 2015, NACHA used 1.00% as this threshold).

 3   See id. During the twenty-four month period referenced in the FAC (October 2016 to September

 4   2018), see FAC ~ 45, LendingClub initiated approximately -                  automated withdrawals per

 5   month from bon ower accounts. See Cunningham Deel.            ~   41 . Over the same period, NACHA

 6   characterized between    • •  and      LendingClub-initiated withdrawals per month as unauthorized,

 7   which translates to a rate of between - and - or an average rate of-                       .4 See id.~~

 8   at 41 -42 (identifying data analyses perfo1med by Mr. Grice). The chait below, from Exhibit 3 to Mr.

 9   Grice's Repo1t , depicts this data.

10
                                                             Unauthorized        Unauthorized
11                      Month            ACH Payments        Return Count        Return Rate5
                 ---------                          -----              -----               ----1

12                     Apr. 2017
                      May2017
13
                       Jun. 2017
14                     Jul. 2017
                      Aug. 2017
15
                       Sept2017
16                     Oct. 2017
17                    Nov. 2017
                      Dec. 2017
18
                       Jan. 2018
19                    Mar. 2018
                       Apr. 2018
20
                      May2018
21                     Jun. 2018
22                     Jul. 2018

23
     4
           LendingClub 's internal data shows even lower en or rates, consistent with the fact that the
24         company 's internal tracking allows it to distinguish situations involving clear bonower en or and
           fraudulent claims by bonowers that withdrawals were not authorized when in fact they were
25         (NACHA data includes such transactions). See Cunningham Deel.~~ 43-44. According to the
           company's internal tracking, from August 2014 to Au ust 2019, the date range for which data is
26         available, LendingClub processed approximately                  a ments an d made-     enors that
           impacted consumers- these figures imply an enor ra e o                See id. at ~ ~
27   5
           The notes accompanying Exhibit 3 in Mr. Gi·ice 's repo1t explain these figures, including that the
           unauthorized return rates are calculated on a two-month basis consistent with NACHA
28         guidan ce.

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 1                                                          Unauthorized        Unauthorized
                       Month          ACH Payments          Return Count        Return Rate5
 2               ---------                         -----            -----                   -----1
                      Aug. 2018
 3                    Sep. 2018

 4

 5            LendingClub 's -        average rate was about   I- of NACHA's 0.50% threshold.        In

 6   addition, NACHA publicly reported that the average rate of unauthorized ACH returns across all

 7   transactions on the ACH Network during calendar year 2016 was 0.03%. 6 See Cunningham Deel. ,i

 8   45. Accordingly, LendingClub's -           average rate of unauthorized ACH returns was -       of
 9   the 2016 NACHA network average.

10            As Mr. Grice has explained, the 0.50% NACHA unauthorized ACH return threshold and

11   0.03% NACHA network average rate are the relevant metrics against which to assess LendingClub 's

12   ACH en or rate. See Cunningham Deel. Exh. 7 (Grice Rep.) at n. 268. And notably, when NACHA

13   in 2014 first proposed to reduce its unauthorized return threshold from 1.00% to 0.50%, the FTC's

14   Bureau of Consumer Protection staff expressly endorsed the proposed change, stating it would

15   "provide a useful tool for payment process, banks, and NACHA to identify conduct that falls

16   substantially outside the nonn that legitimate businesses experience." Id. at ,i 46.
17            Notwithstanding that LendingClub's rate of unauthorized withdrawal enors is ve1y low, when

18   the company becomes aware of an enor, its policy and practice is to fully and promptly address it.

19   First, LendingClub offers a refund to the bon ower of the entire amount of the enoneously withdrawn

20   payment. See Cunningham Deel. ,i 47 (identifying LendingClub intenogato1y response). Second,
21   LendingClub also reimburses the bon ower for any overdraft fees, late fees, or other fees caused by

22   the en oneous withdrawal. Id. at ,i,i 48-51. Finally, in instances in which the bonower does not

23   request a refund, enoneous ACH withdrawals are credited against the outstanding loan balance,

24   ensuring that the bonower obtains the full benefit of the payment.7 Id. at ,i 52.

25

26   6
           NACHA has not repo1ted this infonnation for other recent years, except for 2013 when the rate
           was also 0.03%. See Cunningham Deel. ,i 45.
27   7
           If the bon ower 's loan is fully paid off, LendingClub remits any excess to the bonower
           automatically, in espective of whether the bonower requests a refund. See Cunningham Deel.
28         ,I 53.

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 1          C.      LendingClub's Privacy Policy Disclosures

 2          At all relevant times, LendingClub has maintained a comprehensive Privacy Policy, and the

 3   FTC does not challenge the content of this policy or LendingClub 's adherence to its tenns. See FAC

 4   ,i,i 48-52, 65-67 . Rather, the FTC challenges the manner in which LendingClub disclosed its Privacy

 5   Policy to boITowers prior to the "end of 2016." Id. at ,i 51. It does not challenge the manner in which

 6   LendingClub has disclosed its Privacy Policy from th e end of 2016 fo1ward.

 7          Since December 2016, LendingClub has required all boITowers to click a box acknowledging

 8   th at they have "read an d agree to" the policy in order to advan ce in the loan application process. See

 9   Cunningham Deel. ,i,i 54-55 (identifying LendingClub inte1Togato1y response). A screenshot of this

10   page is shown below (the blue text "Te1ms Of Use," Privacy Policy," ESIGN Act Consent," and

11   "Credit Profile Authorization" were (and remain) links to those respective documents):

12
                          By checking this box, I've read and agree to:
13
                          0   The Terms Of Use, Privacy Policy, ESIGN Act Consent, and Credit
                              Profile Authorization.
14

15

16
                                                 <                 Next
17

18

19   In addition, LendingClub presents a link to the Privacy Policy at the top of each separate page within
20   the online loan application process. See Cunningham Deel. ,i 54. Below is a screenshot of the
21   "Privacy" link on the toolbar at the top of each page of the online application flow.
22

23       LendmgClub                                                                     How it Works   I   Privacy   I Help

24

25   LendingClub also provided an additional link on the "Check Your Rate" page on LendingClub 's

26   website.    Cunningham Deel. ,i 55.          Finally, once a customer is approved and a loan issues,

27   LendingClub emails the boITower a copy of its Privacy Policy, and then also sends an annual update

28   email each year with the then-cmTent Privacy Policy on the anniversaiy of the loan . See id. at ,i 56.

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 1              Prior to December 2016, LendingClub used similar disclosures of its Privacy Policy, except

 2   that instead of requiring customers to independently acknowledge receipt of the Privacy Policy,

 3   LendingClub required customers to consent to its Terms of Use, which in turn incorporated a consent

 4   to the Privacy Policy. See Cunningham Decl. ¶¶ 57, 59. The screenshot below (the relevant language

 5   is highlighted) shows an example of the Privacy section of LendingClub’s pre-December 2016 Terms

 6   of Use.

 7   Privacy
     Please review the Site's Privacy Policy. By using the Site or the Service   ou are consenting to the Privacy Policy and agree to have your personal data transferred
     to and processed in the United States. We may listen to and/or record phone calls between you and our representatives without notice to you as permitted by
 8   applicable law. For example, we listen to and record calls for quality monrtoring purposes.

 9

10              The December 2016 changes in LendingClub’s Privacy Policy disclosure practices were

11   initiated by LendingClub’s internal compliance department, nearly two years before the company

12   became aware of the FTC’s position embodied in Count IV of the FAC. In December 2015,

13   LendingClub’s

14

15

16

17

18

19                                      . Id.

20

21                             See id. at ¶ 59. LendingClub

22                           and launched the updated disclosure process in December 2016, again before

23   LendingClub became aware of the FTC’s position. See id. at ¶¶ 60-61. In short, LendingClub

24   initiated changes to its Privacy Policy disclosures practices on its own accord, independent of any

25   action or threatened action by the FTC.

26              The record contains no evidence even remotely suggesting that LendingClub has considered

27   or would ever contemplate returning to its pre-December 2016 Privacy Policy disclosure practices.

28   And in the FTC’s deposition of LendingClub’s corporate designee on the topic of “policies, analyses,

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 1   and assessments regarding compliance with . . . the Privacy Rule and Regulation P,” no such facts

 2   were elicited. See Cunningham Decl. ¶ 62.

 3          D.      Procedural History

 4          The FTC began investigating LendingClub in late May 2016 following the company’s public

 5   disclosure to investors of potential misconduct by its then-CEO unrelated to the issues in this case.

 6   See Cunningham Decl. ¶ 63. From July 2016 until approximately June 2017, LendingClub responded

 7   to the requests for documents and information in the FTC’s civil investigative demand (“CID”) and

 8   responded to follow-up questions from the agency. See id. at ¶ 64. In December 2017, approximately

 9   six months after LendingClub’s final production of information in response to the CID, the FTC sent

10   LendingClub a draft complaint and consent order communicating that the agency’s staff intended to

11   recommend that the Commissioners commence an enforcement action against LendingClub. See id.

12   at ¶ 65. The draft complaint included five counts. See id. Following receipt of the draft complaint

13   and order, LendingClub engaged in extensive correspondence with the FTC, both to respond to new

14   information requests and address the claims the FTC staff was then considering. See id. at ¶ 66.

15          On April 25, 2018, the FTC filed the complaint that initiated this suit. The complaint included

16   four of the five claims previously included in the draft complaint. In June 2018, LendingClub moved

17   to dismiss. Dkt. No. 23. On October 3, 2018, this Court granted that motion in part, dismissing Count

18   III with leave to amend because the FTC’s complaint did not include “sufficient facts alleging

19   substantial injury.” Dkt. No. 53 at 22. The Court did not dismiss Count IV, explaining that “the

20   complaint provides no allegations regarding any violations after 2016, but also no allegations as to

21   why the violations ceased after 2016.” Id. at 25.

22          In response to the Court’s decision, the FTC on October 22, 2018 filed the FAC. As regards

23   Count IV, the FAC is virtually identical to the initial complaint. With respect to Count III, the FTC

24   added the allegations that, “[s]ince July 2016, consumers have reported to their banks that Defendant

25   has made at least 3,850 unauthorized withdrawals,” and “from 2015 to 2017, hundreds of consumers

26   contacted Defendant to complain about its unauthorized withdrawals.” FAC ¶ 44. The FTC also

27   added allegations that consumers report more than 100 or 200 unauthorized withdrawals per month,

28

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 1   which is “comparable to or worse than those of three of the nation’s largest loan servicers.” FAC ¶

 2   45.

 3            LendingClub filed an answer to the FAC, and in keeping with the Court’s scheduling orders,

 4   see Dkt. Nos. 93, 126, discovery has been ongoing since October 2018. At this time, fact and expert

 5   discovery are virtually complete.8

 6
                                              LEGAL STANDARD
 7            Summary judgment must be granted where “there is no genuine dispute as to any material
 8   fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). “A fact is
 9   ‘material’ only if it might affect the outcome of the case, and the dispute is ‘genuine’ only if a
10   reasonable trier of fact could resolve the issue in the non-movant’s favor.” Fresno Motors, LLC v.
11   Mercedes Benz USA, LLC, 771 F.3d 1119, 1125 (9th Cir. 2014). The moving party bears the initial
12   burden of identifying the absence of a genuine issue of material fact, but once it has met this burden
13   the nonmoving party “must set forth specific facts showing that there is a genuine issue for trial.”
14   Jewel v. Nat’l Sec. Agency, No. C 07-00693 JSW, 2015 WL 545925, at *2 (N.D. Cal. Feb. 10, 2015).
15   The nonmoving party’s “burden is not a light one,” as it “must show more than the mere existence of
16   a scintilla of evidence” or “some ‘metaphysical doubt’ as to the material facts at issue.” In re Oracle
17   Corp. Sec. Litig., 627 F.3d 376, 387 (9th Cir. 2010) (citations omitted). If the nonmoving party does
18   not meet this burden, the moving party is “entitled to judgment as a matter of law.” Frederick S.
19   Wyle Prof’l Corp. v. Texaco, Inc., 764 F.2d 604, 612 (9th Cir. 1985).
20

21

22   8
           To LendingClub’s knowledge, the only outstanding discovery matter relates to four documents
           reflecting the results of FDIC examinations/audits of WebBank (the issuer of the loans available
23         through LendingClub’s platform) occurring in 2009, 2013, 2014, and 2018. In a privilege log
           produced by the FTC to LendingClub on January 29, 2020, the FTC identified these documents
24         and stated that it was withholding them in their entirety on the basis of the “Bank Examination
           Privilege.” Cunningham Decl. ¶ 67 & Exh. 24 (FTC privilege log). Shortly after receiving the
25         log, LendingClub requested a conference of counsel and explained during the subsequent
           conference its belief that the privilege assertion was unjustified in its entirety or, at minimum,
26         overbroad. See id. at ¶ 67. In response, on February 19, 2020, the FTC produced redacted copies
           of these documents and represented that all information relating to LendingClub was unredacted.
27         See id. LendingClub is currently reviewing these documents, and may supplement the expert
           report of Mr. Charles Grice, an expert on the regulations and industry compliance standards
28         applicable to financial institutions, to incorporate and address this newly produced evidence.
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 1                                              ARGUMENT

 2   I.     LENDINGCLUB’S AUTOMATIC ACH PAYMENT PRACTICES ARE NOT
            UNFAIR
 3

 4          Count III alleges that “[i]n numerous instances, Defendant has withdrawn money from
 5   borrowers’ bank accounts without borrowers’ authorization” by “charg[ing] consumers double
 6   payments,” “automatically withdraw[ing] consumers’ monthly payment amount even after those
 7   consumers have already paid off their loans,” and “continu[ing] to charge consumers via automatic
 8   withdrawal” after “consumers have asked [LendingClub] to stop automatic ACH withdrawals
 9   because they wished to pay by check or use a different bank account.” FAC ¶¶ 43, 62. The FAC
10   further alleges that “[s]ince July 2016, consumers have reported to their banks that [LendingClub]
11   has made at least 3,850 unauthorized withdrawals” and that LendingClub’s monthly number of
12   unauthorized withdrawals was “comparable to or worse than those of three of the nation’s largest
13   loan servicers, even though those companies service three to four times as many loans as”
14   LendingClub. Id. at ¶¶ 44-45. The FAC contends that this alleged conduct is “unfair” pursuant to
15   Section 5 of the FTC Act, 15 U.S.C. §§ 45(a), 45(n). The record evidence does not support this claim.
16          When Congress conferred authority upon the FTC to pursue enforcement actions attacking
17   “unfair” practices, it felt the need to circumscribe the agency’s charge, and to prescribe the specific
18   elements that must be satisfied to constitute a violation. For the FTC to establish that conduct is
19   “unfair,” it must establish each of the following three statutory requirements: “[i] substantial injury
20   to consumers which [ii] is not reasonably avoidable by consumers themselves and [iii] not outweighed
21   by countervailing benefits to consumers or to competition.” 15 U.S.C. § 45(n). See, e.g., FTC v. D-
22   Link Sys., Inc., No. 3:17-cv-00039-JD, 2017 WL 4150873, at *5 (N.D. Cal. Sept. 19, 2017). The
23   FTC cannot meet these standards here, and the undisputed facts show that LendingClub is entitled to
24   judgment as a matter of law.
25          To begin with, the FAC attempts to focus this claim not on LendingClub’s provision of ACH
26   withdrawal services, but far more narrowly on “unauthorized ACH withdrawals.” FAC ¶¶ 43, 62
27   (emphasis added). However, the pertinent question is whether LendingClub’s relevant business
28   practices may properly be viewed as constituting an “unfair “practice. This requires a focus on the

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 1   company’s relevant business practices as a whole, meaning its provision of ACH withdrawal services,

 2   understanding that errors can and do occur in connection with such services, as well as the steps the

 3   company takes to address, mitigate, and avoid such errors. Focusing solely on errors as the relevant

 4   conduct at issue, rather than examining such errors in the context of the relevant business practices

 5   and the scale of the transactions processed as a whole, would depart radically from the statutorily

 6   prescribed balancing test contemplated by 15 U.S.C. § 45(n). Indeed, such an approach to assessing

 7   unfairness claims would be tantamount to a strict liability rule inasmuch as it would focus solely on

 8   the undesirable effects of inadvertent, and highly infrequent, errors, without considering the

 9   considerable consumer benefits of ACH transactions, a financial transaction vehicle that is used in

10   one way or another by the majority of Americans for things like automatic bill payments and direct

11   paycheck deposits.

12          Hence, in prior cases in which the FTC has pursued unfairness claims based on the consumer

13   impact of unauthorized billing, courts have examined the totality of the relevant facts and

14   circumstances, including the policies and procedures surrounding the billing practices at issue. For

15   example, in FTC v. Amazon.com, Inc., the FTC alleged that “[i]n numerous instances” Amazon

16   “billed parents and other Amazon account holders” for in-app purchases by children “without having

17   obtained the account holders’ express informed consent” in violation of the FTC Act’s prohibition on

18   “unfair” practices. FTC v. Amazon.com, Inc., 2:14-cv-01038-JCC, Dkt. No. 1, ¶¶ 33-35 (Complaint)

19   (W.D. Wash. July 10, 2014). Yet when the court adjudicated the claim, it evaluated the entirety of

20   Amazon’s “business practices around in-app purchases,” rather than focusing solely on the allegedly

21   unauthorized charges. FTC v. Amazon.com, Inc., No. C14-1038-JCC, 2016 WL 10654030, at *6

22   (W.D. Wash. July 22, 2016).       Among other things, the Amazon court’s analysis included an

23   examination of the disclosures and billing processes applicable to all in-app purchases and reached

24   conclusions based on “the design of the Appstore and procedures around in-app purchases” more

25   generally. Id. at *8. Likewise, in FTC v. Direct Marketing Concepts, the FTC alleged that “automatic

26   shipments” of a dietary supplement “billed to consumers’ credit or debit cards without the consumers’

27   authorization” constituted an “unfair” practice. FTC v. Direct Mktg. Concepts, Inc., 1:04-cv-11136-

28   GAO, Dkt. No. 1, ¶ 44 (Complaint) (D. Mass. June 1, 2004). When evaluating the Commission’s

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 1   motion for summary judgment on this claim, the court once again did not focus solely on the allegedly

 2   unauthorized transactions, but instead examined whether, viewed as a whole, the defendant’s

 3   “autoship program had the purpose or effect of enrolling consumers without their consent.”          FTC

 4   v. Direct Mktg. Concepts, Inc., 589 F. Supp. 2d 285, 305 (D. Mass. 2008) (emphasis added). As

 5   Amazon.com, Direct Marketing Concepts, and similar cases show, the unfairness standard requires

 6   an examination of the programs and/or practices that lead to billing errors as a whole. It does not

 7   permit the Commission to simply isolate the errors themselves and condemn them as unfair practices.

 8   That approach would improperly sidestep the balancing of considerations that is central to the

 9   statutory unfairness test. See, e.g., FTC Policy Statement on Unfairness (1980) (“The Commission

10   is aware” of the “tradeoffs” inherent in business practices and “will not find that a practice unfairly

11   injures consumers unless it is injurious in its net effects.” (emphasis added)), available at,

12   https://www.ftc.gov/public-statements/1980/12/ftc-policy-statement-unfairness.9

13            The undisputed facts show that LendingClub’s practices and procedures relating to automated

14   ACH withdrawals, viewed as a whole, do not meet any of the required elements of the statutory

15   unfairness standard.

16            A.      LendingClub’s Automatic Payment Processes Do Not Cause “Substantial Harm”
17            To meet the first element of the unfairness standard, the FTC must show that LendingClub’s
18   practices relating to automated withdrawals caused “substantial harm,” which, as the Court noted in
19   its motion to dismiss ruling, exists where the conduct imposes a “small harm [on] a large number of
20   people, or if it raises a significant risk of concrete harm.” Dkt. No. 53, at 23 (citing FTC v.Neovi,
21   Inc., 604 F.3d 1150, 1157 (9th Cir. 2010), and FTC v. Johnson, 96 F. Supp. 3d 1110, 1151 (D. Nev.
22   2015)) (internal quotation marks omitted). Here, the record shows that very few unauthorized
23

24
     9
           See also J. Howard Beales, The FTC’s Use of Unfairness Authority: Its Rise, Fall, and
25         Resurrection, 22 J. of Pub. Pol’y & Mktg. 192 (2003) (in this article, Professor Beales, a former
           Director of the FTC’s Bureau of Consumer Protection and a leading consumer protection law
26         scholar, questions the appropriateness of condemning instances of “misbilling” under the
           unfairness prong of the FTC Act, noting that it is inevitable in large billing systems that “errors
27         … will occur,” and stressing the importance of “carefully analyz[ing] each individual case,”
           including “the countervailing benefits” to consumers associated with the billing practices at
28         issue).
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 1   withdrawals occur, and that when LendingClub learns of such errors, it promptly and fully remediates

 2   them.

 3           As noted above, NACHA data shows that LendingClub initiated between
                                                                                         • •  and

     withdrawals per month that borrowers reported to their banks as unauthorized. See pp. 8-9, supra.
                                                                                                       ACH




                                                                  -
 4

 5   Over the same period, LendingClub initiated approximately                ACH withdrawals per month,

     on average. See id. These data show that LendingClub’s average monthly NACHA unauthorized


       -
 6
     return rate was         and that its highest rate in any month for which data is available was less than


     -
 7

 8            See id.

 9           It is beyond reasonable debate that this rate is low in comparison to the relevant benchmarks.

10   NACHA’s threshold for “problematic originating practices”—which the FTC itself endorsed in

11   commentary to NACHA, see p. 9, supra—is 0.50%. LendingClub’s                            ACH error rate

12   is                         than this threshold and also falls significantly beneath the 0.03% NACHA

13   network average for unauthorized ACH returns. Mr. Grice explained that these are the appropriate

14   benchmarks against which to evaluate LendingClub’s rate of ACH withdrawal errors. See p. 9, supra;

15   see also FTC v. Crescent Publ’g. Grp. Inc., 129 F. Supp. 2d 311, 315-16, 322 (S.D.N.Y. 2001) (using

16   thresholds specified by the credit card networks to evaluate the rates at which consumers dispute

17   charges on their accounts). Moreover, Mr. Grice explained why the FAC’s comparison between

18   LendingClub’s error rate and that of three student loan services, see FAC ¶ 45, is inapt, “given that

19   LendingClub and the student loan services make different types of products available to consumers

20   and service different types of borrowers.” Cunningham Decl. Exh. 7 (Grice Rep.) at ¶ 166.10 The

21   FTC offered no rebuttal to Mr. Grice’s testimony. Accordingly, the undisputed record establishes

22   that LendingClub’s rate of ACH errors is far beneath the relevant standards. See, e.g., Hutchinson v.

23   United States, 838 F.2d 390, 393 (9th Cir. 1988) (“when [a] defendant supports [a] motion for

24
     10
          In any case, because the FTC did not produce information regarding the total number of ACH
25        withdrawals initiated by these three student loan servicers, a comparison of their error rates to
          LendingClub’s error rate is impossible. See Cunningham Decl. Exh. 7 (Grice Rep.) at ¶ 166.
26        Hence, there are no facts in the record supporting the FTC’s notably vague assertion in the FAC
          that the ACH error rates of the student loan services are lower. See FAC ¶ 45 (“These numbers,”
27        referring to LendingClub’s alleged ACH error count over a six-month period, “are comparable to
          or worse than those of three of the nation’s largest loan servicers, even though those companies
28        service three to four times as many loans as [LendingClub] does.”).
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 1   summary judgment with the declarations of experts, a plaintiff who has presented no expert evidence

 2   concerning the required standard of care has failed to make sufficient showing that there are genuine

 3   factual issues for trial”); Marchetti v. Treman, 985 F.2d 573, *1-2 (9th Cir. 1993) (affirming summary

 4   judgment for defendant in light of plaintiff’s “failure to submit any expert evidence to refute

 5   [defendant’s] expert testimony,” stating, “in a motion for summary judgment, expert declarations

 6   must be met by expert declarations”).

 7          It is also uncontroverted (and beyond reasonable dispute) that examining the rate of

 8   unauthorized withdrawals, as opposed to the number of such withdrawals, is the appropriate way to

 9   evaluate whether such withdrawals are indicative of procedural inadequacies.             As Mr. Grice

10   explained:

11          Evaluating the volume (i.e., simple counts) of LendingClub’s unauthorized returns
            does not provide any meaningful insights about the appropriateness of LendingClub’s
12
            use of the ACH Network. What matters to NACHA and other stakeholders reviewing
13          ACH data, and thus what I typically evaluate during my supervision of bank
            examinations, is the rate of unauthorized returns—the number of unauthorized returns
14          within a given period relative to the total number of ACH payments originated during
            the same period—rather than simply observing the count of ACH unauthorized
15          returns.
16   Cunningham Decl. Exh. 7 (Grice Rep.) at ¶ 163 (emphasis in original).
17
            The logic for focusing on the rate of unauthorized withdrawals relative to the raw number of
18
     such withdrawals is straightforward: looking at the raw number alone would erroneously imply that
19
     organizations like LendingClub that initiate a large volume of ACH withdrawals maintain less
20
     effective practices simply due to their size, even when their practices are, in fact, extremely effective
21
     at preventing erroneous unauthorized withdrawals. See Cunningham Decl. Exh. 7 (Grice Rep.) at ¶
22
     163 (unrebutted testimony that “the larger the number of transactions performed by a financial
23
     institution, the higher the number of unauthorized returns that may arise,” meaning that “to get an
24
     accurate understanding of the likelihood of unauthorized returns to arise, it is necessary to evaluate
25
     the number of unauthorized returns per volume of ACH payments rather than a simple count of
26
     unauthorized returns in isolation”). Hence, the rate, rather than raw count, is the appropriate measure
27
     by which to assess the efficacy and adequacy of LendingClub’s practices and procedures regarding
28

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 1   ACH withdrawals, and there is no genuine dispute that LendingClub’s rate of erroneous unauthorized

 2   ACH withdrawals is very low—indeed, much lower than the benchmark used by the relevant

 3   standard-setting authority in the industry and lower than the average rate among all other NACHA

 4   network members.

 5          LendingClub’s low rate of ACH errors is strong evidence in itself that the company’s policies

 6   and procedures relating to ACH transactions and avoiding unauthorized withdrawals are appropriate

 7   and robust, and is independently sufficient to establish as a matter of law that LendingClub’s business

 8   practices are not “unfair.” Examining LendingClub’s error prevention practices directly likewise

 9   reveals their thoroughness and reasonableness.          As explained above, LendingClub employs

10   procedural cross-checks to catch and correct erroneous payments before they occur. See pp. 6-7,

11   supra. LendingClub trains its customer service representatives and monitors its employees, including

12   monthly spot checks. See id. Employees who perform poorly receive coaching, and if they fail to

13   improve, are fired. See id. LendingClub has every incentive to maintain such robust policies and

14   procedures. Unauthorized ACH withdrawals not only create a poor borrower experience (something

15   that is antithetical to LendingClub’s business interests), but in addition impose business costs on

16   LendingClub associated with tracking, investigating, and remediating each unauthorized transaction.

17   See Cunningham Decl. ¶ 68.

18          Although LendingClub’s efforts have resulted in an error rate much lower than the NACHA

19   average, see pp. 8-9, supra, mistakes inevitably occur within LendingClub and all comparable

20   organizations.   When the company becomes aware of such mistakes, it is uncontested that

21   LendingClub’s policy is to offer the borrower a full refund. See id. LendingClub also reimburses

22   overdraft fees, insufficient funds fees, late fees, and other costs incurred by borrowers caused by the

23   erroneous withdrawal. See id.

24          These facts, which have not been contested by the FTC, show that LendingClub’s automated

25   ACH processes do not impose a “small harm [on] a large number of people” nor “a significant risk

26   of concrete harm” on a smaller group of people. Dkt. No. 53 at 23 (quoting Neovi, Inc., 604 F.3d at

27   1157) (internal quotations omitted). Unlike other FTC unfairness cases in which the FTC, to satisfy

28   the substantial injury requirement, has stressed that all or substantially all of the consumers using the

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 1   challenged product or service suffer an injury, in this case LendingClub’s error rate is remarkably

 2   low, meaning that “a large number of people” were not harmed. See FTC v. Direct Benefits Grp.,

 3   2013 WL 3771322, at *13 (M.D. Fla. July 18, 2013) (finding substantial injury where “[e]ach

 4   consumer who was enrolled in the [defendants’] discount programs” suffered harm) (emphasis

 5   added). Moreover, there was not a “significant risk of concrete harm” to even the small percentage

 6   of affected consumers. As discussed above, supra at p. 9, LendingClub’s policy and practice is to

 7   refund erroneous payments and reimburse overdraft fees or other charges paid by the borrower as the

 8   result of an ACH withdrawal error, such that the “net” harm to affected consumers was in most cases

 9   non-existent. And, as the FTC has demonstrated from its own past cases, it is the “net” harm, if any,

10   that matters.11 See, e.g., Direct Benefits Grp., 2013 WL 3771322, at *13 (finding substantial injury

11   where “after accounting for returns, refunds, and chargebacks” there was still a total net consumer

12   harm of $9.5 million) (emphasis added); see also id. at *10 (emphasizing not the total but rather “the

13   net revenue to Defendants” after deducting for refunds, etc.) (emphasis added). Where, as here, there

14   is no material risk of concrete consumer injury, much less harm to large numbers of consumers, courts

15   have not hesitated to find that the “substantial harm” requirement is not satisfied as a matter of law.

16   See, e.g., D-Link Sys., 2017 WL 4150873, at *5 (dismissing FTC complaint for pleading “a mere

17   possibility of injury at best” and contrasting cases “that have survived motions to dismiss” where

18   “hundreds of thousands of consumers” allegedly incurred millions of dollars in aggregate harm).

19           B.      Borrowers Using LendingClub Could Reasonably Avoid Erroneous Automated
                     Withdrawals
20
             To establish the second statutory requirement for an unfairness claim, the FTC must show
21
     that the alleged harm “is not reasonably avoidable by consumers themselves.” 15 U.S.C. § 45(n).
22
     Here, the undisputed evidence shows that LendingClub provides all borrowers with the option to pay
23
     11
          Courts consider the impact of the defendant’s refund practices under both the “substantial injury”
24        and “reasonable avoidability” prongs. Compare FTC v. Kennedy, 574 F. Supp. 2d 714, 720 (S.D.
          Tex. 2008) (evaluating refund under the substantial injury prong) with Davis v. HSBC Bank Nev.,
25        NA, 691 F.3d 1152, 1168-69 (9th Cir. 2012) (evaluating refund under the avoidability prong). In
          either approach, if the defendant’s refund practices remediate the injury caused by the challenged
26        practice, such that there is no substantial net loss to consumers, the legal standard for unfairness
          is not met, even without analysis of whether the benefits of the practice outweigh the harm
27        pursuant to the third prong of the unfairness standard. See, e.g., Davis, 691 F.3d at 1168-69
          (holding that an injury is reasonably avoidable because a refund fully repaid the annual fee if
28        consumer cancelled credit card within 90 days).
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 1   through automated ACH withdrawals or by check, and they can change their choice at any time. See

 2   p. 5, supra. This option provides borrowers with the opportunity to make a “free and informed

 3   choice” to avoid any risk of suffering an erroneous ACH withdrawal. Davis, 691 F.3d at 1168. While

 4   no borrower knows at the time they select to pay by ACH withdrawal whether they may experience

 5   an erroneous withdrawal, like any reasonable consumer, borrowers using LendingClub’s platform

 6   should be aware that errors can and do occur with automated payment systems.                  Because

 7   LendingClub’s error rate here is lower than the 0.03% average unauthorized return rate for ACH

 8   transactions, the risk borrowers are subject to when they select LendingClub’s automatic payment

 9   option is no greater than borrowers “have reason to anticipate.” Id. at 1168-69. The indisputable fact

10   that consumers have the ability to protect themselves against possible ACH withdrawal errors

11   prevents the FTC from satisfying the second statutory element of an unfairness claim.

12           In addition, the fact that borrowers can obtain refunds through an accessible and reasonable

13   process permits borrowers to “mitigat[e] the injury after the fact” and reasonably avoid substantial

14   injury. See id. at 1168-69 (citation omitted).12 In Davis, the Ninth Circuit held that the availability

15   of a complete refund “provided ‘the means to avoid’ the alleged harm,” preventing any claim of

16   unfairness. Id. at 1169 (harm was avoidable where consumers had the option to avoid the annual fee

17   by canceling credit card within 90 days). And Davis stressed that in this regard “[t]he question” was

18   not “whether subsequent mitigation was convenient or costless, but whether it was ‘reasonably

19   possible.’” Id. Here, as in Davis, the facts show that borrowers who did experience an erroneous

20   withdrawal had the opportunity to be fully reimbursed not only for the withdrawal amount but also

21   for any overdraft fees, late fees, and the like that may have resulted from the erroneous withdrawal.

22   See, p. 9, supra. In these circumstances, the alleged harm to consumers is “reasonably avoidable” as

23   a matter of law, requiring dismissal of the FTC’s unfairness claim.

24           C.     The Benefits of LendingClub’s Automatic Payment Option Far Outweigh Its
                    Costs for Borrowers
25           Finally, to pursue a statutory unfairness claim the FTC also must show that there are no
26   “countervailing benefits to consumers or to competition” that “outweigh[]” the alleged harm. 15
27
     12
          As addressed in footnote 11, supra, refunds are relevant to, and analyzed under, both the
28        “substantial injury” and “reasonable avoidability” prongs of the unfairness test.
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 1   U.S.C. §45(n). Here the undisputed facts show that LendingClub’s automatic payment option

 2   provides several consumer benefits. To begin with, automated withdrawals save borrowers the cost

 3   of obtaining checks and postage to mail those checks to LendingClub, and the time associated with

 4   writing and sending checks. See Cunningham Decl. Exh. 7 (Grice Rep.) at ¶ 46. Scheduled

 5   automated ACH withdrawals also help to ensure borrowers make monthly payments on time,

 6   avoiding any late fees. See id. at ¶ 159. Automated withdrawals are also less costly for LendingClub

 7   to process relative to checks, and the cost savings contributes to LendingClub’s overall efficiency,

 8   giving the company greater freedom to invest in new product offerings or other aspects of its business

 9   that benefit consumers. See, e.g., Cunningham Decl. ¶ 69.

10          The flexible payment options that borrowers using LendingClub’s platform enjoy provide

11   further benefits as well. The ability to change monthly payment dates, and to delay making payments

12   during a 15-day “grace period,” permits borrowers to align their payments to their personal cash-

13   flow. This again permits borrowers to avoid late payment fees and decreases the risk of default. See

14   Cunningham Decl. Exh. 7 (Grice Rep.) at ¶ 171. That borrowers using LendingClub enjoy the

15   freedom to prepay (up to and including the full loan principal) without cost or penalty allows them to

16   avoid future interest costs and to refinance their loans at any time. These are significant consumer

17   benefits, even though the operational complexity associated with offering these options marginally

18   increases the risk of human errors. See id. The FTC has presented no evidence or expert testimony

19   questioning these benefits to consumers.

20          The statutory test for unfairness contemplates that these undisputed benefits must be weighed

21   against the asserted consumer harm, but here, to the extent there is any net consumer harm associated

22   with LendingClub’s automated ACH withdrawal practices, it is minimal. As noted above, errors are

23   very infrequent and LendingClub maintains robust refund and remediation practices that eliminate

24   any harm when errors do occur. If the borrower’s bank account balance is sufficient to cover the

25   erroneous ACH withdrawal, the borrower is not “out” the amount of the withdrawal at all because

26   the amount of the erroneous payment is applied directly to the borrower’s outstanding loan balance.

27   See Cunningham Decl. ¶ 70.        The cost-benefit balancing here is thus very straightforward—

28   consumers benefit from LendingClub’s automated ACH withdrawal option, while any harm caused

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 1   by the option is very small, if it exists at all. Because the relevant facts in support of that conclusion

 2   are all undisputed, summary judgment is also appropriate due to the FTC’s inability to satisfy this

 3   third statutory requirement.

 4   II.      LENDINGCLUB UPDATED ITS PRIVACY POLICY DISCLOSURES YEARS AGO,
              AND THERE IS NO EVIDENCE THAT IT IS LIKELY TO REVERT TO ITS
 5            PRIOR PRACTICES
 6            Count IV alleges that LendingClub violated the GLBA’s Privacy Rule and Regulation P

 7   because the company “failed to deliver [its] initial privacy notice so that each customer could

 8   reasonably be expected to receive actual notice.” FAC ¶ 67. As the Court noted in its ruling on

 9   LendingClub’s motion to dismiss, these allegations pertain solely to LendingClub’s disclosure

10   practices prior to “the end of 2016.” Dkt. No. 53, at 25. Although the conduct challenged by this

11   claim ended nearly three and a half years ago, the FTC seeks an injunction and no other form of relief.

12   See Cunningham Decl. ¶ 71 (identifying FTC’s Fourth Amended Initial Disclosures clarifying that

13   the FTC’s claim for monetary relief relates only to Count I).

14            It is well established that the FTC can obtain an injunction only for conduct that is “ongoing

15   or likely to recur.” FTC v. Evans Prods. Co., 775 F.2d 1084, 1087 (9th Cir. 1985). Because there is

16   no dispute that the conduct at issue in Count IV is not “ongoing,” the only question is whether it is

17   “likely to recur,” id., and on this the FTC bears the burden of proof. See, e.g., Amazon.com, 2016

18   WL 10654030, at *5 (noting that, to avoid summary judgment, the FTC must establish a likelihood

19   of recurrence).13 In order to satisfy this burden, the FTC must show that there is a “cognizable danger

20   of recurrent violation” and “something more than the mere possibility.” FTC v. Accusearch Inc., 570

21   F.3d 1187, 1201 (10th Cir. 2009) (citing United States v. W.T. Grant Co., 345 U.S. 629, 633 (1953)).

22   The undisputed facts show that the FTC cannot satisfy that burden here.

23            The record shows that LendingClub adopted the December 2016 Privacy Policy disclosure

24   changes based on a recommendation from the company’s internal compliance group first circulated

25
     13
           The “likely to recur” standard set forth in Evans Products applies to requests for injunctive relief.
26         Although it need not reach this issue, the Court could alternatively dismiss Count IV as moot. As
           discussed in the Court’s motion to dismiss ruling, Dkt. No. 53, p. 25, a claim is moot “if
27         subsequent events show that the activities could not reasonably be expected to recur.” Torres v.
           Nutrisystem, Inc., 289 F.R.D. 587, 595 (C.D. Cal 2013). LendingClub submits that the undisputed
28         evidence more than satisfies this standard.
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 1   in December 2015, nearly six months before the FTC opened its pre-complaint investigation and two

 2   years before the FTC sent LendingClub a draft complaint that included the equivalent of Count IV of

 3   the FAC. See p. 11, supra. LendingClub then implemented those changes in December 2016, nearly

 4   a year before the FTC indicated a belief that LendingClub’s privacy policy disclosure practices failed

 5   to comply with the GLBA Privacy Rule, and roughly a year and a half before the FTC filed its

 6   complaint. See pp. 10-12, supra.

 7           Where, as here, the defendant discontinued the allegedly non-compliant practices prior to the

 8   FTC taking any action, the FTC’s burden to show a likelihood of recurrence is particularly

 9   demanding. Evans Products itself confirms this point. There, the Ninth Circuit concluded that the

10   challenged conduct was not likely to recur, placing emphasis on the fact that Evans’s alleged

11   misconduct ceased “long before the FTC’s complaint was filed.” 775 F.3d at 1088 (emphasis added).

12   The same is true in this case, and the passage of time here between the voluntary cessation of the

13   challenged practices and the FTC’s complaint (approximately 16 months) was comparable to that in

14   Evans Products.

15           There also is no evidence in the record suggesting that LendingClub has, at any point,

16   contemplated returning to its pre-December 2016 disclosure practices. There is no documentary

17   evidence developed during discovery that supports such a return. And during the deposition of

18   LendingClub’s corporate witness on the topic of “compliance with Privacy Rule and Regulation P,”

19   the FTC did not elicit any facts even remotely suggesting that the company has ever contemplated

20   reverting to its pre-December 2016 practices. See pp. 11-12, supra. This weighs heavily against a

21   likelihood of recurrence. See, e.g., Troiano v. Supervisor of Elections Palm Beach Cty., 382 F.3d

22   1276, 1285 (11th Cir. 2004) (affirming lower court’s dismissal on mootness grounds where policies

23   in question were changed before the lawsuit was filed and had been enforced consistently and

24   concluding that such facts provided “ample evidence” of an “intent” not to reintroduce such policies

25   “in the future”).

26           In ruling upon LendingClub’s motion to dismiss, the Court suggested that where the conduct

27   being challenged “has stopped,” it would be inappropriate for the FTC to pursue its claim absent “a

28   good faith belief that it is likely to recur.” Dkt. No. 53, p. 21. Whatever the FTC may have believed

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 1   when it chose to renew Count IV’s challenge to LendingClub’s pre-December 2016 Privacy Policy

 2   disclosure practices in the FAC, at summary judgment the question is whether “the FTC has

 3   established, with evidence, a cognizable danger of a recurring violation.” Amazon.com, 2016 WL

 4   10654030, at *5 (emphasis added). Because the FTC has failed to meet this burden, it cannot obtain

 5   injunctive relief, and this is proper grounds for summary judgment in LendingClub’s favor.

 6                                            CONCLUSION
 7          For the reasons stated above, LendingClub respectfully requests summary judgment on
 8   Counts III and IV of the FTC’s First Amended Complaint.
 9

10
      DATED: February 27, 2020                     Respectfully submitted,
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 1                                    CERTIFICATE OF SERVICE

 2          On February 27, 2020, I caused the foregoing to be electronically filed with the Clerk of the

 3   Court by using the CM/ECF system which will send a notice of electronic filing to all persons

 4   registered for ECF. All copies of documents required to be served by Fed. R. Civ. P. 5(a) and L.R. 5-

 5   1 have been so served.

 6
                                                           /s/ M. Sean Royall
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